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 5   Attorney for Debtors;
 6   RONALD AND ARLENE SILVER

 7                      IN THE UNITED STATES BANKRUPTCY COURT
 8                            FOR THE DISTRICT OF ARIZONA
 9
     In Re:                                          Chapter 11
10
     RONALD AND ARLENE SILVER, husband               Case No. 2:17-bk-07624-SHG
11   and wife,
12                                                   NOTICE OF LODGING ORDER
                                Debtors.             GRANTING APPLICATION TO
13                                                   EMPLOY CLAY BREEDEN
14            NOTICE IS HEREBY GIVEN that the Debtors have lodged an Order regarding their
15   Application to Employ licensed associate broker Clay Breeden (“Mr. Breeden”) in the form
16   attached hereto.
17            DATED this 14th day of May 2018.
18
19                                                Law Offices of Kyle A. Kinney, PLLC:

20
21                                                By:/s/ Kyle A. Kinney
                                                      Kyle A. Kinney (027189)
22                                                    1717 N. 77th Street, Suite 6
                                                      Scottsdale, AZ 85257
23                                                    kyle@kinneylaw.net
24                                                    Attorney for Debtors

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     This is to certify that the foregoing was
 1   e-filed on this 14th day of May 2018, in the
     United States Bankruptcy Court,
 2   COPY of the foregoing served via electronic
     Notification that same date on:
 3
     Office of the U.S. Trustee
 4   230 North First Avenue, Suite 204
     Phoenix, AZ 85003-1706
 5
     RENEE SANDLER SHAMBLIN
 6   Office of the U. S. Trustee
     230 North First Avenue, Suite 204
 7   Phoenix, AZ 85003-1706
 8   Kim Lepore
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 9   Jamin S. Neil (SBN 026655)
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     Attorneys for Nissan
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14   P.O. Box 17933
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     forGreenpoint Mortgage Funding, Inc.
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22   Joseph J. Tirello, Jr., Esq.
     ZIEVE, BRODNAX & STEELE, LLP
23   3550 North Central Avenue, Suite 625
     Phoenix, AZ 85012
24   E-mail: Jtirello@zbslaw.com
25   Attorneys for U.S. Bank National Association,
     as Trustee for Lehman Brothers Small Balance
26   Commercial Mortgage Pass-Through Certificates,
     Series 2007-3
27
     By:/s/ Paula D. Hillock
28
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 9                      IN THE UNITED STATES BANKRUPTCY COURT
10                              FOR THE DISTRICT OF ARIZONA
11
     In Re:                                             Chapter 11
12
     RONALD AND ARLENE SILVER, husband                  Case No. 2:17-bk-07624-SHG
13
     and wife,
14                                                      ORDER RE APPLICATION TO
                                  Debtors.              EMPLOY LICENSED ASSOCIATE
15                                                      BROKER CLAY BREEDEN
16            This matter having come before this Court of Debtors’ Application For Order Pursuant
17   To 11 U.S.C. §§ 327(A) And 1107 Authorizing The Employment And Retention Of Clay
18   Breeden As Associate Real Estate Broker, and good cause appearing,
19            IT IS HEREBY ORDERED, approving the employment of the Clay Breeden as
20   broker for the Debtors in this Chapter 11 proceeding.
21            Approval of employment of a professional person DOES NOT automatically approve
22   any fee arrangement set forth in the application or any attachments thereto. No fees are pre-
23   approved by the court. Any request for a professional fee must be made separately, by a
24   detailed application supporting the request, notice must be given to creditors and other
25   parties-in-interest, and the court must have an opportunity to review any objections which
26   any party may have. The court may also consider the application in the absence of any
27   objections, and may adjust the fees according to the merits of the particular case. 11 U.S.C.
28   §§ 327, 328, 329, 330, and 331.
     SIGNED AND DATED AS SET FORTH ABOVE
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